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                               UN ITED STATES DISTRICT CO UR T
                               SOU TH ERN D ISTRICT O F FLO W D A

                                CASE N O .16-CR-20267-W ILLlA M S

    U NITED STATES O F AG RICA ,

    V.

    A RIEL N UNEZ FINM ZET,

                  D efendant.
                                                /

                                        PLEA AG REEM EN T

           TheUnitedStatesAttorney'sOftkefortheSouthernDistrictofFlorida(çEthisOffice'')and
    ArielNunezFinalet(hereinafterreferredtoastheGsdefendanf')enterintothefollowingagreement:
                  The defendantagreesto plead guilty to Count 1 ofthe Indictm ent,w hich charges

    the defendantw ith Conspiracy to Com m itH ealth Care Fraud and W ireFraud,in violation ofTitle

    18,U nited StatesCode,Section 1349.

           2.     The defendant is aw are that the sentence w ill be im posed by the Court after

    considering the advisory Federal Sentencing Guidelines and Policy Statements (hereinafter
    Gcsentencing Guidelines''). Thedefendantaclmowledgesand understandsthattizeCourtwill
    compute an advisory sentenceunderthe Sentencing Guidelines and thatthe applicable guidelines

    w illbe determ ined by the Courtrelying in pa14 on the resultsofapre-sentence investigation by the

    Court'sprobation office,w hich investigation w illcom m enceaftertheguilty pleahasbeen entered.

    The defendant is also aware that,under certain circum stances,the Courtm ay departfrom the

    advisory sentencing guideline range that it has com puted,and m ay raise or low erthatadvisory

    sentence underthe Sentencing Guidelines. The defendantis further aw are and understandsthat

    the Courtis required to consider the advisory guideline range determ ined underthe Sentencing
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       Guidelines,butisnotbound to imposea sentencew ithin thatadvisory range;the Courtisperm itted
   '
       to tailorthe'ultim ate sentencein lightofotherstatutory concerns,and such sentencem ay be either

       m ore severeorlessseverethan theSentencing Guidelines'advisory range. K now ing thesefacts,

       the defendant understands and acknowledges that the Courthas the authority to im pose any

       sentencewithin and up to the statutory maximum authorized by law forthe offenseidentified in

       paragraph 1 and thatthe defendantm ay notw ithdraw the plea solely as a resultofthe sentence

       im posed.

                     The defendant also understands and acknow ledgesthatupon a conviction forthe

       chargespecified in paragraph 1theCourtm ay im pose astatutory m axim um term ofim prisonm ent

       ofuptotwenty(20)years,followedby aterm ofsupervisedreleaseofuptothree(3)years. In
       addition to a term of im prisonm entand supervised release,the Coul'
                                                                          tm ay impose a fine ofup to

       $250,000 ortwicethegrossgain orgrosslossresulting from theoffense,restitution,and criminal
       fodbiture.

              4.     The defendant further understands and acknow ledges that, in addition to any

       sentenceimposedunderparagraph3 ofthisagreement,aspecialassessmentintheamountof$100
       w illbe im posed on the defendant. The defendant agrees thatany specialassessm entim posed

       shallbe paid at the tim e of sentencing.If the defendant is financially unable to pay the special

       assessm ent,the defendantagrees to presentevidence to this Office and the Coul'tat the tim e of

       sentencing asto the reasonsforthe dèfendant'sfailure to pay.

                     This Office reserves the rightto infol'm the Courtand the probation office of al1

       facts pertinent to the sentencing process, including a1l relevant inform ation concerning the

       offensets) commitled,whether charged or not,aswellas concerning the defendantand the
       defendant's background.Subjectonly to the expressterms of any agreed-upon sentencing
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    recom m endations contained in this agreem ent,this Office furtherreservesthe rightto m ake any

    recom m endation asto the quality and quantity ofpunishm ent.

           6.     This Office agrees that itw illrecom m end atsentencing thatthe Courtreduce by

    two levelsthesentencing guideline levelapplicableto thedefendant'soffense,pursuantto Section

    3E1.1(a)oftheSentencing Guidelines,based upon thedefendant'srecognition and affirmative
    and tim ely acceptance ofpersonalresponsibility. If atthe tim e of sentencing the defendant's

    offense level is determ ined to be 16 or greater,this Office w ill file a m otion requesting an
                                                                                                 .




    additionaloneleveldecreasepursuantto Section 3E1.1(b)oftheSentencing Guidelines,stating
    thatthe defendanthas assisted authorities in the investigation orprosecution ofthe defendant's

    ow n m isconductby tim ely notifying authorities of the defendant's intention to enter a plea of

    guilty, thereby perm itting the govem m ent to avoid preparing for trial and perm itting the

    governm entand the Courtto allocate theirresources efficiently. This Office,however,w illnot

    berequiredtomakethismotion andtheserecommendationsifthedefendant:(1)failsorrefuses
    to m ake a full,accurate and com plete disclosure to the probation office and the Courtof the

    circumstancessurroundingtherelevantoffenseconduct;(2)isfoundtohavemisrepresentedfacts
    to the governmentprior to or afterentering into this plea agreement;or (3) commits any
    m isconductafterentering into thisplea agreem ent,including butnotlim ited to com m itting astate

    orfederaloffense,violating any tenu ofrelease,orm aking false statem entsorm isrepresentations

    to any govem m entalentity orofficial.

                  This.o ffice and the defendantagree that,although not binding on the probation

    officeortheCourt,theywilljointlyrecommendthattheCourtmakethefollowingfindingsasto
    the guideline calculations:
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                  a.     Total Loss: The parties agree that pursuant to Sentencing Guideline

                  j2B1.1(b)(1)(i), the relevant intended amount of loss resulting from the
                  defendant'sparticipation in theoffenseismorethan $1,500,000 butnotmorethan

                  $3,500,000,resultinginasixteen(16)levelenhancement.
                         Lossto aGovernm entHealth CareProzram :Thepartiesagreethatpursuant

                  toSentencingGuidelinesj28l.1(b)(7)@ )(i),theèefendant'soffensecausedmore
                  than$1,000,000inlosstoaGovernmenthealthcareprogram,resultinginatwo(2)
                  levelerlhancem ent.

                         Restitution: That the defendant w ill pay restitution in the am ount of

                  $1,910,222.
           8.     The defendantisaw arethatthesentence hasnotyetbeen determ ined by the Court.

    Thedefendantalso isaw arethatany estim ateoftheprobablesentencing range orsentencethatthe

    defendantm ay receive,w hetherthatestim atecom esfrom the defendant'sattorney,this Office,or

    theprobation office,isa prediction,notaprom ise,and isnotbinding on this Oftk e,theprobation

    officeorthe Court. The defendantunderstandsf'
                                                urtherthatany recom m endation thatthisOffice

    m akesto theCourtasto sentencing,whetherpursuanttothisagreem entorotherwise,isnotbinding

    on the Courtand the Coul'tm ay disregard the recom m endation in its entirety. The defendant

    understands and acknow ledges that the defendant m ay not withdraw his plea based upon the

    Coud's decision notto accepta sentencing recom m endation m ade by the defendant,this Office,

    orarecommendationmadejointlybythedefendantandthisOffice.
                  ThedefendantagreesthatheshallcooperatefullywiththeOfficeby:(a)providing
    truthfuland complete inform ation and testim ony, and producing docum ents,records and other

    evidence,when calleduponbytheOffice,whetherin interviews,beforeagrandjury,oratany
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    trialorotherCourtproceeding;(b)appearingatsuchgrandjuryproceedings,hearings,trials,and
    otherjudicialproceedings,gndatmeetings,asmayberequiredbytheOffice;and(c)ifrequested
    by the Office,w orking in an undercoverroleunderthe supervision of,and in com pliancew ith the

    instructionsotl1aw enforcem entofficersandagents. lnaddition,thedefendantagreesthathewill
    notprotect any person or entity through false inform ation or om ission,that he w illnot falsely

    im plicate any person orentity,and thatthe defendantwillnotcom m itany further crilhes. The

    Officereservesthe righito evaluatethenature and extentofthe defendant'scooperation and to
    m ake that cooperation,or lack thereqf,know n to the Courtatthetim e ofsentencing. If,in the

    soleandunreviewablejudgmentoftheOffice,thedefendant'scooperationisofstlchqualityand
    significance to the investigation orprosecution of any crim inalm atleras to warrantthe Court's

    dow nw ard depalture from the advisory range calculated under the Sentencing Guidelines,the

    Offk e m ay m ake a m otion prior to sentencing pursuant to Section 5K 1.1 of the Sentencing

    Guidelines,or subsequent to sentencing pursuant to Rule 35 of the FederalRules of Crim inal

    Procedure, inform ing the Court that the defendant has provided substantial assistance, and

    recomm ending thatthe defendant's sentence be reduced. Thedefendantunderstandsand agrees,

    how ever,thatnothing in thisA greem entrequiresthe Ofsce to file any such m otion,and thatthe

    Office'sassessm entofthe quality and significanceofthedefendant'scooperation shallbebinding

    as it relates to the appropriateness of the Office's filing or not filing a m otion to reduce the

    defendant's sentence. The defendantunderstands and acknow ledgesthatthe Courtis under no

    obligation to granta m otion forreduction ofsentence filed by the Office,orto otherwise reduce

    the defendant'ssentence on accountofany cooperation by the defendant.

           10.    The defendantis aw are thatTitle 18,United StatesCode,Section 3742 affordsthe

    defendantthe rightto appealthe conviction and sentence im posed in thiscase. A cknow ledging
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    this,in exchange forthe undertakings m ade by this Office in this plea agreem ent,the defendant

    thereby waives a1lrights conferred by Section 3742 to appealthe conviction and any sentence

    im posed, including any restim tion or forfeiture order, or to appeal the m anner in which the

    sentence w as im posed,unless the sentence exceeds the m axim um perm itted by statute. The

    defendantfurtherunderstandsthatnothing in thisagreementshallaffectthe government'sright

    and/ordutytoappealassetforth inTitle18,UnitedStatesCode,Section3742419. However,if
    thegovemmentappealsthedefendant'ssentencepursuanttoSection374241$,thedefendantshall
    be released from the above w aiverofappellate rights. By signing thisagreem ent,the defendant

    acknow ledgesthathehasdiscussed the appealw aiversetforth in'thisagreem entw ith hisatlbrney.

    The defendantfurther agrees,togetherw ith this O ffice,to requestthatthe Courtenter a specific

    finding thatthe defendant's w aiverofhis rightto appealthe sentence to be im posed in this case

    w asknow ing and voluntary.

                  The defendant agrees,in an individual and any other capacity,to forfeit to the

    U nited States,voluntarily and imm ediately,any property,realor personal,thatconstitutes or is

    derived,directly or indirectly,from grossproceedstraceable to the com m ission ofthe offense,in

    violationof18U.S.C.j1349,pursuantto 18U.S.C.j982(a)(7)andtheprovisionsof21U.S.C.
    j853. lnaddition,thedefendantagreestoforfeitureofsubstitutepropertypursuantto21U.S.C.
    j 853û9. Theproperty subjectto forfeimre includes,butisnotlimited to aforfeituremoney
    judgmentinasum of$522,011thatrepresentsthevalueofthepropertysubjecttoforfeiture.
           12.    The defendantfurtheragreesthatforfeiture is independentofany assessm ent,tine,

    cost,restitution,orpenalty thatm ay be im posed by the Court. The defendant know ingly and

    voluntarily agrees to waive al1 constitutional, legal, and equitable defenses to the forfeiture,

    including excessive fines under the Eighth A m endm ent to the United States Constitution. ln
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        addition,thedefendantagreestowaive:any applicabletimelimitsforadministrativeorjudicial
    fodbitureproceedings,therequirementsofFed.Rs.Crim.P.32.2and43(a),andanyappealofthe
    forfeiture.

                    The defendantalso agreesto fully and truthfully disclose the existence,nature and

    location ofallassets in which the defendanthas orhad any director indirectfinancialinterestor

    control,and any assets invblved in the offense of conviction. The defendantagrees to take all

    stepsrequested by the U nited States forthe recovery and forfeiture ofal1assets identified by the

    United Statesassubjectto forfeiture. Thisincludes,butisnotlimited to,thetimely delivery
    upon requestofal1necessâry and appropriate docum entation to delivergood and m arketabletitle,

    consenting to allordersofforfeiture,and notcontesting orimpeding in any w ay w ith any crim inal,

    civiloradm inistrative forfeiture proceeding concerning the folfeitui'
    .                                                                    e.

                    ln furtherapce ofthesatisfaction ofaforfeituremoneyjudgmententeredby the
    Courtin thiscase,the defendantagreesto the following:

                    a.     submita financialstatem enttothisOftk eupon reqùest,within 14
                           calendardaysfrom therequest;

                    b.     maintain any assetvalued in excessof$10,000,and notsell,hide,
                           wastesencum ber,destroy,or othelw ise devaltle suçh assetw ithout
                           priorapprovalofthe United States;

                           provide inform ation aboutany transferofan assetkalued in excess
                           of$10,000 sincethe comm encem entoftheoffense conductin this
                           caseto date;

                    d.     cooperate f'
                                      ully in the investigation and the identification ofassets,
                           including liquidating assets, m eeting w ith representatives of the
                           United States,and providing any docum entation requested;and

                           notify,w ithin 30 days,the Clerk of the Coul't for the Southern
                           DistrictofFlorida and this Office of:(i)any change of name,
                           residence,or mailing address,and (ii) any materialchange in
                           econom ic circum stances.
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              15.     The defendantf'urtherunderstandsthatproviding false or incom plete inform ation

       aboutassets,concealing assets,m aking m aterially false statem ents orrepresentations,orm aking

       orusing false writingsordocum entspertaining to assets,taking any action thatwould im pedethe

       forfeiture of assets,or failing to cooperate f'
                                                     ully in the investigation and identitication of asjets

       maybeusedasabasisfor:(i)separateprosecution,including,under18 U.S.C.j 1001,
                                                                                 'or(ii)
       recomm endation ofadenialofareductionforacceptanceofresponsibili'
                                                                       typursuanttotheUnlted

       StatesSentencingGuidelinesj3EI.I.
              16.     In the eventthe defendantw ithdraw sfrom thisA greem entpriorto pleading guilty

       orbreachesthe Agreem entbefore oraftershe pleads guilty to the charges identified in paragraph

       one(1)aboveorotherwisefailstofullycomplywithanyofthetermsofthisPleaAgreement,this
       Office w illbe released from its obligations underthis Agreem ent,and the defendant agrees and

       understandsthat:(a)thedefendanttherebywaivesanyprotection affordedby anyprofferletter
   '
       agreementsbetween theparties,Section IB1.8 ofthe Sentencing Guidelines,Rule 11(9 ofthe
       FederalRules ofCrim inalProcedure,and Rule410 oftheFederalRules ofEvidence,and thatany

       statem entsm ade by the defendantaspartofplea discussions,any debriefingsorinterviews,or in

       thisAgreem ent,whetherm adepriorto oraftertheexecution ofthisA greem ent,w illbeadm issible

       againstthe defendantwithoutany lim itation in any civilor crim inalprocee
                                                                               'ding brought by the

       Govemment;and (b)thedefendantstipulatestothe admissibility and authenticity,in any case
       broughtby the U nited States in any w ay related to the facts referred to in thisA greem ent,ofany

       docum ents provided by the defendànt or the defendant's representatives to any state or federal

       agency énd/orthisOffice.

              17      Thedefendantrecognizesthatpleading guilty m ay have consequenceswith respect

       to his im m igration status ifhe is not@,citizen ofthe United States. U nder federallaw ,a broad


                                                       8
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    range ofcrim esare rem ovable offenses,including the offensesto which the defendantispleading

    guilty. lkemovalandotherimmigration consequencesarethesubjectofaseparatqproceeding,
    how ever,and the defendantunderstands thatno one,including the defendant's attorney or the

    Courq,canpredictto acertaintytheeffectofthedefendant'sconvictionon hisimmigration status.

    The defendantnevertheless affirm s thathe w ants to plead guilty regardless of any im m igration

    consequencesthathisplea may entail,even ifthe consequence isttle defendant's automatic
    rem ovalfrom theU nited States.

           18.    This is the entire agreem ent and understanding betw een this Office and the

    defendant. There are no otheragreem ents,prom ises,representations,orunderstandings.


                                               M ARKENZY LA POW TE
                                               U NITED STATES A W ORN EY


    gate, ?//oIvn                       By:
                                               J    PH EGOZI
                                               A SSISTAN UN                        TTORNEY

    Date: V Z'ZWV                       By:
                                                JO S -C      O S V 1L   N UEV A
                                                A TO       Y FOR        FENQANT
    oate; ? tô z4                       By:                W*-
                                                       UNEZ FINALET
                                                DEFEN DAN T
